Case 2:03-CV-02965-SHI\/|-tmp Document 58 Filed 05/24/05 Page 1 of 2 Page|D 66

 

 

IN THE UNITED sTATES DISTRICT CoURT mfg - - .¢_. 2.<:
FoR THE WESTERN DISTRICT oF TENNESSEE ,_ w
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W. th f'_)` T;-¢_ 31§:$1;<;
ABDisiTA_R JAMA,
Plainu'ff,
vs. No. 03-2965-Ma/P

CITY OF MEMPHIS, TENNESSEE, a municipality,
MAVERICK G[BBS, lndividually and in his Off'ieial
Capacity as an Officer for the City of Memphis,
Tennessee, CATHY BEACHAM, et al.,

`Defendants.

 

ORDER GRANTTNG LEAVE TO FILE REPLY MEMORANDUM

 

Before the court is the May l, 2005 motion by Defendant City ofl\/Iemphis for leave
to file reply to Plaintiffs’ response to motion for summary judgment For good cause shown, the
motion is granted and the reply attached to Defendant’s motion for leave to file reply shall be
deemed filed as of the date of entry of this order.

n is so oRDERED this '*Mday ofMay, 2005.

J#W"'/L-\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 58 in
case 2:03-CV-02965 Was distributed by faX, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

